Case 1:01-cv-12257-PBS Document 7757-1 Filed 08/19/11 Page 1 of 7




                        EXHIBIT A
       Case 1:01-cv-12257-PBS Document 7757-1 Filed 08/19/11 Page 2 of 7



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                )
IN RE: PHARMACEUTICAL INDUSTRY                  )     MDL No. 1456
AVERAGE WHOLESALE PRICE                         )     Master File No. 1:01-CV-12257-PBS
LITIGATION                                      )     Sub-Category Case No. 1:08-CV-11200
                                                )
THIS DOCUMENT RELATES TO:                       )
United States ex rel. Linnette Sun and          )
Greg Hamilton, Relators                         )
v.                                              )     Judge Patti B. Saris
Baxter Healthcare Corporation                   )
                                                )
                                                )

               BAXTER HEALTHCARE CORPORATION’S REPLY BRIEF
            IN FURTHER SUPPORT OF ITS PARTIAL MOTION TO DISMISS

            In its Partial Motion to Dismiss, Baxter Healthcare Corporation (“Baxter”)

demonstrated why Relators’ Recombinate claims are barred under the False Claims Act’s “first-

to-file” bar, 31 U.S.C. § 3730(b)(5), by making a side-by-side comparison of the essential

elements alleged in the Ven-A-Care Complaint1 (“VAC Complaint”) and the Sun/Hamilton

Complaint2 (“Sun/Hamilton Complaint”). Relators’ Opposition cites readily distinguishable

cases and ignores the fundamental argument that a resolution of the Ven-A-Care Complaint

necessarily would foreclose the Sun/Hamilton Recombinate claims. Their opposition also fails

to respond to our argument regarding the inappropriateness of Hamilton’s continued

participation as a relator.




1
 Ven-A-Care Fourth Amended Complaint for Money Damages and Civil Penalties Under the
False Claims Act, filed December 22, 2002 (Exhibit 2 to Baxter’s Partial Motion to Dismiss).
2
  Sun/Hamilton Complaint for Damages Under the Federal and Various State False Claims Act,
filed April 22, 2005 in the District of Colorado (Exhibit 1 to Baxter’s Partial Motion to Dismiss).



                                                                                     DSMDB-2968173v1
       Case 1:01-cv-12257-PBS Document 7757-1 Filed 08/19/11 Page 3 of 7




I.           ARGUMENT

             A.     Recombinate Should Be Dismissed from Count One

             Confronted with Baxter’s detailed comparison of the same essential elements

contained in the two complaints, Relators attempt to weave a new allegation out of Ven-A-

Care’s old cloth. Relators apparently hope that by adding details concerning the same basic

claims – about charge-back wholesalers and a consent decree between the DOJ and First

DataBank, Inc. (“FDB”) – they can transform an old inflated price reporting allegation into a

brand new scheme. See Relators’ Memorandum of Opposition to Baxter Healthcare

Corporation’s Partial Motion to Dismiss, (filed Aug. 11, 2011) (“Opp.”) at 5. Relator’s hope is

misplaced.

             In the first place, the Court’s prior decision on our Motion to Dismiss rejected

Relators’ “new species” arguments. Moreover, the first-to-file bar focuses not on the details of

the scheme, but rather on a comparison at a high level of generality. See United States ex rel.

Duxbury v. Ortho Biotech Prods., 579 F.3d 13, 32 (1st Cir. 2009) (“§ 3730(b)(5) can still bar a

later claim even if that claim incorporates somewhat different details”) (citation omitted); United

States ex rel. Folliard v. CDW Tech. Serv. Inc., 722 F. Supp. 2d 37, 41 (D.D.C. 2010) (because

details may vary, two complaints should be compared “at a sufficiently high level of

generality”). Relators rely on United States ex rel. Duxbury v. Ortho Biotech Products, L.P.,

579 F.3d 13 (1st Cir. 2009), and United States ex rel. Hutcheson v. Blackstone Medical, 694 F.

Supp. 2d 48 (D. Mass. 2010), rev’d on other grounds, No. 10-1505, 2011 U.S. App. LEXIS

10972 (1st Cir. June 1, 2011), but neither decision supports their argument.

             Both Duxbury and Hutcheson did indeed find that a second complaint was not barred

by an earlier one, but the facts were materially different. In Duxbury, the crucial distinction

made between the two complaints was not, as Relators suggest, that the second complaint alleged

                                                  2
                                                                                       DSMDB-2968173v1
       Case 1:01-cv-12257-PBS Document 7757-1 Filed 08/19/11 Page 4 of 7




a scheme in greater detail. The first complaint alleged only that the defendant was using clinical

trials to induce off-label use of their drug. The second complaint charged the defendant with a

number of materially different promotional schemes: direct off-label marketing to medical

professionals; influencing the results of purportedly independent clinical studies; illegal

payments to medical professionals in the form of “educational grants” and “clerkships”;

conducting unlawful rebate programs, and so forth. 579 F.3d at 33. Thus, the allegation in the

first complaint plainly “fail[ed] to encompass the other allegations contained in the [second]

Complaint.” Id.

           Similarly, in Hutcheson, the court found the second complaint was not trumped by

the first because the first complaint “made only passing ‘information and belief’ reference to

false claims arising out of illegal kickbacks beyond Arkansas, [and] alleged a consulting

agreement with only one doctor,” whereas the second complaint included specific and wide-

ranging allegations of “research engagements, VIP travel, stock payments and royalties

involving at least ninety-one doctors across the United States.” 694 F. Supp. 2d at 58-59.

           Unlike the second complaints in those cases, the Sun/Hamilton Complaint merely fills

in the details of conduct previously complained of in the VAC Complaint. The Sun/Hamilton

Complaint, unlike the second complaints in Duxbury and Hutcheson, does not add any new

essential elements, such as a new scheme or methodology. Id.; see also United States ex rel.

Westmoreland v. Amgen, Inc., 707 F. Supp. 2d 123, 130 (D. Mass. 2010) (finding second

complaint was not barred under first-to-file bar because it included a widespread scheme and a

new methodology not previously alleged ), aff’d in part, rev’d in part on other grounds, New

York v. Amgen, Inc., 2011 U.S. App. LEXIS 15036 (1st Cir. July 22, 2011).




                                                 3
                                                                                      DSMDB-2968173v1
       Case 1:01-cv-12257-PBS Document 7757-1 Filed 08/19/11 Page 5 of 7




           Relators claim that Baxter allegedly accomplished its scheme to inflate AWPs by

providing FDB a List Price for Recombinate, rather than the wholesaler acquisition cost

(“WAC”) as required by FDB. See Opp. at 5. Although this court stated that Baxter’s reporting

of misleading List Prices is an essential element of Relators’ claim, see March 25 Order, at *4,

that essential element was already specified in the VAC Complaint. In fact, as Relators point

out, the VAC Complaint “alleges at least four different kinds of possible misrepresentations in

cost and price reporting to Medicare and Medicaid.” Opp. at 4. These include

misrepresentations of “‘List Price,’ ‘Wholesale Net,’ Direct Price ‘DP’ or ‘DIRP,’ or Wholesaler

Acquisition Costs, ‘WAC’ to which [drug pricing compendia] appl[ied] an industry average

mark-up to establish an AWP.” Opp. at 4-5 (citing VAC Complaint, at ¶ 161b). Thus, not only

does the VAC Complaint encompass the same essential element as the Sun/Hamilton Complaint,

the VAC Complaint actually alleges more methods than the Sun/Hamilton Complaint, thereby

presenting the exact opposite situation than that in Duxbury and Hutcheson.

           Relators do not even address the notion that finding Baxter liable for Recombinate-

related claims under the Sun/Hamilton Complaint would give rise to double recovery—a result

the first-to-file rule statutorily prohibits. See Erickson ex rel. United States v. American Inst. of

Biological Sciences, 716 F. Supp. 908, 918 (E.D. Va. 1989) (finding claims barred because both

complaints alleged false claims based on improper payment of salaries and bonuses to INS

employees, and would therefore lead to double recovery by the government). As Baxter has

shown, both complaints allege false reporting that resulted in alleged inflated AWPs, which, in

turn, are claimed to have led to overpayments by the government. No matter the method, these

overpayments will be the same in both cases: the amount by which the State or Federal

Government over-reimbursed for Recombinate. These damages cannot be recovered twice. The



                                                  4
                                                                                        DSMDB-2968173v1
       Case 1:01-cv-12257-PBS Document 7757-1 Filed 08/19/11 Page 6 of 7




Relators’ claims add no new purchasers to those alleged in the Ven-A-Care Complaint. Nor do

Relators add any new purchases to those claimed by Ven-A-Care. Hypothetically, if Baxter were

to resolve the Ven-A-Care case by settlement, Relators would be unable to point to any

additional exposure not covered by that settlement that could form the basis for Relators’

Recombinate claims. Relators’ Recombinate claims are therefore barred.

            B.     Hamilton Should Be Dismissed as a Relator Because His “Original
                   Source” Knowledge Is Limited to Recombinate

           If Recombinate is removed from the case, the only therapy remaining is Advate. The

Court previously ruled that Sun, not Hamilton, is an original source for Advate. See March 25

Order at *4. Relators have not—because they cannot—shown that Hamilton is an original

source with respect to Advate.3 In fact, in their Opposition, Relators simply re-argue Hamilton’s

status as an original source for Recombinate, See, e.g., Opp. at 2 (“Hamilton has provided direct

and independent information regarding a specific AWP fraud scheme regarding Recombinate.

As such he should remain a party to this action.”); id. at 8 (“Since Sun/Hamilton’s claims

regarding Recombinate should not be barred by the First-to File [sic] provision of the FCA,

Hamilton should not be dismissed as Relator.”); id. at 9 (“Because the Recombinate allegations

are not barred, Hamilton should not be dismissed from the case.”). Because Hamilton is only an

original source for Recombinate, if Recombinate is barred by the first-to-file provision of the

FCA, Hamilton cannot remain a Relator in this case.


3
 The only argument Relators make with respect to Advate is that Hamilton “held numerous
meetings with Baxter regarding the ‘pricing of several of the Baxter products discussed in the
Complaint, including Advate.’” Opp. at 9. However, the substance of those discussions, as
shown by the deposition testimony Relators attach to their brief, establishes only that Hamilton
advised Baxter that its price to the market for Advate was too high to convince consumers to
switch to it. Opp. at Ex. B. Nowhere does Hamilton’s testimony reflect any knowledge that
Baxter caused an inflated AWP for Advate to be reported by FDB or other drug pricing
compendia.


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                                                                                     DSMDB-2968173v1
        Case 1:01-cv-12257-PBS Document 7757-1 Filed 08/19/11 Page 7 of 7




 II.       CONCLUSION

           Pursuant to 31 U.S.C. §3730(b)(5), this Court lacks jurisdiction over any Count 1

 FCA allegations regarding Recombinate. Because Hamilton’s status as an original source is

 based solely upon his information regarding Recombinate, Hamilton should similarly be

 dismissed from the case.

                                             Respectfully submitted,


Dated: August 19, 2011                       /s/ Shamir Patel
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                                               6
                                                                                  DSMDB-2968173v1
